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                                                         EXHIBIT A

                                          Summary of Proposed Protocol For
                                       Compromise of Preferential Transfer Claims


                      Amount of Claim                       Notice               Motion For Court Approval
                Gross aggregate 90 day
                payments of $100,000 or less.
                                                No notice required               None required


                Gross aggregate 90 day
                payments of $100,000 or
                greater but the “Disputed       No notice required               None required
                Amount” but does not exceed
                $100,000.

                (amount recovered is 50% or
                more of the Disputed
                Amount.)

                Disputed Amount is greater
                than $100,000, but does not
                exceed $250,000 and the         Ten (10) days notice to          Required only if objection
                amount to be recovered is       Creditor List (Exhibit C)        served following notice
                50% or more of the Disputed
                Amount.

                All other Preference Claims     Notice pursuant to local rules   Required
                                                for 9019 motions




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